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SEP 23 2018 UNITED. STATES DESTRICT <COURT
STRICT COMRT WESTERN DISTRICT OF WASHINGTON
WESTERN DSTRIGT OF NASHNGTON ATTHOOMA AT TACOMA
BY ——

 

 

ERIC DETRICK McPHERSON, Case No. CR94-—5708FDB
Movarit,
MOTION FOR COMPASSIONATE RELEASE VIA
PURSUANT TO :18 U.S.C., § 3582(c) (1) (A) (i)
FOR EXTRAORDINARY AND COMPELLING REASONS
‘OR, ALTERNATIVELY, THE "HOLLOWAY DOCTRINE’

-V-

UNITED STATES OF AMERICA,
Resporxdarit.

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COMES NOW, Eric Detrick McPherson, herein as "MOVANT" or "McPHERSON", a pro-se
litigant in the above-styled cause, to move this Honorable Court in support of his
MOTION FOR REDUCTION OR MODIFICATION OF SENTENCE, based on the statutory changes to
18 U.S.C. § 924(c) via the 'First Step Act' [S.756, Section 403], enacted by Congress.

Where the 'First Step, Ac: i is: quasi-retroactive, as an alternative, consideration
is requested via the so-called 'Holloway Doctrine’. In support of such issuance,

McPHERSON offers the following:

[MOVANT invokes the protection of Supreme Court's ruling in Haines —v- Kerner,
404 U.S. 519, 30 L.Ed.2d 652 (1972)("Pro-se pleadings are to be construed
liberally and held to.a less stringent standard than formal pleadings drafted
by lawyers: If the court can reasonably read the pleading to state a claim

orn which the litigant could prevail, it should do so despite a failure to cite
proper legal authority, confusion of legal theories, poor syritax and sentence
construction, or litigant's unfamiliarity with pleading requirements.'')]

 

THE FIRST STEP ACT [S.756]
Section 403 of the First Step Act resolves an existing ambiguity in 18 U.S.C., §
924(c)(1), about when to apply enhanced penalties for using a firearm during certain
erimes based on a defendant's prior corwictions. 'First Step' makes it clear that
the enhanced mandatory minimums for using a firearm during certain crimes only applies
wherry the qualifying prior corwviction was already final at the time of the new offense.

(This change would unfortunately not apply retroactively to the over 700 inmates with

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these urrjust sentences automatically. ]

In the past the government sought to apply 924(c) to offenders convicted of mul-
tiple gun charges on the same day [as in MOVANT's case] with the goal to enhance without
the recessary prior corvictions under the section, thus obtaining higher mandatory min-
imum penaties on each courit of conviction. This was an issue of controversy at MOVANT's
seritencing that this Court concluded it lacked discretion in deciding in favor of not
applying what amourited to a 'double-enhancement' for a single conspiracy.

McPHERSON riow seeks COMPASSIONATE RELEASE pursuant to § 3582(c)(1)(A)(i), for ex-
traordinary and compelling reasons which warrarit such release, or, alternatively, he
petitions this Court to ask the Government to agree to let the Court vacate ore of his
924(c) corivictions, which would reduce his sentence to 13 years (156 morrths) by allowing
use of the ‘Holloway Doctrine' (U.S. -v— Holloway, 68 F.Supp.3d 310 (E.D.N.Y. 2014)), in
which that court's judge used a similar opportunity to ask the U.S. Attorney to consider
allowing him to vacate some of the convictions to give the defendarit back more than 30
years of his life.

Where the majority of his sentence has elapsed, McPHERSON is trying to restore less
than four (4) years of the penalties improperly used against him. The defendant in Hollo-
way used a gun to commit three carjackings, none of which resulted death or irnjury.
Though there was also no deathor irrjury in McPHERSON's case, he contrarily was never ac-
cused of using or carrying a weapon in his alleged robberies, but..was ‘instead held cul-
pable for the actions of his alleged codefendant'via conspiracy.

McPHERSON's OFFENSES & SENTENCE

(1) Along with an accomplice, McPHERSON allegedly robbed two banks in three weeks
during October arid November of 1994. The Goverrmerit brought seperate counts for each
barik robbery, and each robbery was accompanied by its own so-called "924(c) count".

The latter counts makes it a crime to, among other things, use a firearm during a crime

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of violence. Discovery information indicated McPHERSON never possessed any form of wea-
Port.

(2) In 1995, shortly before trial, the Goverrment offered McPHERSON a plea bargain
encompassing the two bank robberies and a single 924(c) count. The flaw was McPHERSON
was not preserit at the initial arraignment (attorney only) and did not compreherid the
plea offer would drop the additional 924(c) count in exchange for a plea of guilt. With-
out such knowledge of facts, McPHERSON (a prior felon) contemplated the risks of a 14-
year trial outcome to the benefits of a 12-year plea agreement. MCPHERSON maintained his
innocerice and insisted on a trial. He got one, but making that choice exposed him to a
superceded indictment which added a conspiracy charge and what he thought was an ‘addi-
tional’ 924(c) count. He did not contemplate and failed to comprehend the triple threat
of multiple 924(c) counts: mandatory sentencing, onerous enhancements for "secord or
subsequent" corwictions that occur in a single conspiracy trial, and sentencing required
to be mardatorily consecutive to one another and to all other serttences in the case - as
was his outcome.

(3) as a result, McPHERSON received ar: enhariced sentence for a single weapon ina
single conspiracy which factually affected a single victim [both branches belonged to
West One Bank], for actions not of his own, but of the aforementioried accomplice. That
senterice is as follows: Count. 1 (conspiracy) ~ 60 months; Count 2 (bank robbery) ~ 92°
months; Count 3 (924(c)) - 60 months; Count 4 (bank robbery) - 92 months; Count 5 (924
(c)) ~ 240 months. The sentence resulted to 392 months, with 240 months administered in
effect as ari enhancement for a weapon which eviderice proved McPHERSON never possessed
and this Court had concerns with applying at the time as proper, illustrated infra.

(4) Though by today's standards his senterice should've been 152 months , McPHERSON's
corivictiorn was affirmed by the Ninth Circuit ‘in 1996. He did not appeal to the Supreme

Court due to lack of counsel or understanding as to the post-appelant process. His col-

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lateral attack pursuant to 28 U.S.C. § 2255 was unintentionally activated by a motion
for request of sentencing transcript, and was ultimately denied in 1997 after an earlier
denial for extention of time to file a proper § 2255 brief. A subsequent effort to file
a Rule 60(b) motion in 1998 was dismissed due to a time-lapse after instructions from
the clerk to reduce the page-length of the initial brief were not met. Feeling his col-
lateral options exhausted, McCPHERSON's judicial actions have been asleep, awaiting a le-
gal climate change which would support the legal theory of his seritencing objections.
The 'First Step Act' represents that change.

(5) McPHERSON is currently housed at Lexington Medical Center, P.O.B. 14500, Lexing-
ton, Kentucky, 40512. He was corivicted in 1995 at the age of 33 and has currently at-
tained the age of 57. His points of mitigation are (1) he's served over 80% of his
currerit seritence, (2) he has no history of violence, and (3) he has not engaged in vio-
lent or drug~related behavior while in custody.

REQUEST FOR RELIEF

McPHERSON was irtitially sentericed after a continuance by this Court to determine if
it was proper to further enhance his sentence for a second or subsequent conviction of
18 U.S.C. § 924(c). Twenty-four years later, Congress has clarified which senterice was
proper for McPHERSON by passing the 'First Step Act'. Section 403 of the 'First Step
Act' states as follows: (a) In general - Section 924(c)(1)(A) of Title 18, United States
Code, is amended, in the matter proceeding clause (i), by stricking "second and subse-
quent conviction under this section" and inserting "violation of this subsection that
occurs after a prior corwiction under this subsection has been final". It is important
to note section 403 of the bill is entitled "CLARIFICATION of Section 924(c) of Title ©:
18, United States.Code".

Specifically, the language of 'First Step' that modifies § 3582(c)(1)(A), and on

which MCPHERSON relies, provides that a seritencing court now may modify a sentence not

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orily upon motion made by the Director of the Bureau of Prisons but also upon motion by

a defendant when certain conditions are met..Where the new statutory provision may afford
a movarit basis for relief in the sentencing court that he did not possess at the time
prior petitions were filed, the provision MAY be applied retroactively ONLY after a
court considers sentencing factors, including any danger, prison misconduct, and infor-
mation provided by the Government, and, as amended, may not be applied retroactively to
such offender who has been coriwvicted of any serious violent felony, or to any drug traf-
ficker who brarndished or used a gun in the commission of that offense.

However, where 'First Step' has charges which are broadly written, there's a viable
argument for why federal district court judges car use the compassionate release statute,
as amended, as a second look provision to reduce a sentence for people in federal prison
if "extraordinary and compelling reasons" are present. Federal judges can and should give
senterice reductions in cases where people in federal prison have a demoristrated record
of rehabilitation in addition to compelling reasons why they weré seritenced too harshly.

With that said, McPHERSON asserts this Court sought at sentencing clarification as to
the proper application of enhancement directly related to a "second or subsequent cor
viction" that would suggest, had the law been clear at that time, no ‘extra’ penalty for
the single use of a weapon via conspiracy would have appled. There was no 'prior' offense
to consider at sentencing to support the 'stacking' of an extra 20 years MCPHERSON now
suffers, yet ironically the language of 'First Step' bears an exact resemblance to his
initial assessment at sentencing: that he should serve a 60-month enharicemenit for the
current conspiracy offenses, with the understanding that any subsequent violations after
his release relating to § 924(c) would result in a greater statutory penalty; at the time
being 240 moriths. See Verbatim Transcript of Sentencing (VIS), 13-Oct-95 [Atmt.B], ,page~
10, line 17, to page 11, line 5 [henceforth: VIS.10, 1n.17 - VTS.11, 1n.5]. ALSO SEE:

[Atmt.A] - Court's concern as to proper sentencing, VTS.3, lns.4-9; VIS.20, ins.6-17.

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In fact, 'First Step' also goes as far as to support the argument presented via cour-
sel at McPHERSON's sentence that, if applied at all, any subsequerit 924(c) penalty ina
Single judgement should be for additional 60-month increments, not the 240 morths inter-
preted then. See: [Atmt.C] - VST.6, 1ns.15-17.

The revealing ‘clarification' of the 'First Step Act' is ‘this Court may have urinten-
tionally engaged ‘in a form of {duplicative' double-couriting: when it sentenced for the use

of a single firearm for both the offense of conspiracy and multiple 924(c) counts, though
at the time it may have seemed proper. In the conspiracy courit the Grand Jury charged

McPHERSON conspired "to rob one or more banks, in violation of 18 U.S.C. § 2113(a) and
(d), and to use a firearm to successfully complete one or more robberies, in violation
of 18 U.S.C. § 924(c)." The Grand Jury did not distinguish which subdivision of § 924
(c) it considered valid in its indictment. But the matter of import is the fact that
using a firearm to ‘successfully complete' one or more robberies is not an element of
the statute. However, such language makes it obviously clear that a singular conspiracy
was the exposure McPHERSON faced, no matter whether one ‘or more ' robberies were com-
mitted. Persuasive precedent supports the notion that the single use of a gun that re-
sults in more than one offense supports. only a single § 924(c) enhancement, and where
"there was only one use (albeit a repeated use) of a firearm," only one § 924(c) enhance-
ment. could stand. U.S. -v- Wilson, 160 F.3d 732, 749, 333 U.S.App. D.C. 103 (D.C. Cir.
1998). Also: U.S. -v- Andrade, 993 F.Supp.2d 1269 (9th Cir. 2014) (the ‘same discrete act/
crime of violerice resulted in duplicative convictions).

At trial, the Goverrment relied on Pinkerton -v- U.S., 328 U.S. 640, 66 S.Ct. 1180,
90 L.Ed. 1489 (1946), which "renders all co-conspirators criminally liable for reasorn-
ably forseeable overt acts committed by others in furtherance of the conspiracy they have
joined, whether they were aware of them or not." Cf. U.S. ~-v— Hernandez-Orellana, 539

F.3d 994, 1007 (9th Cir. 2008). The jury found McPHERSON guilty with respect to his co-

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defendant's use of a weapori as a show of force, violence ard intimidation via conspiracy,
though the Goverrment coriceeded at trial a lack of guilt with respect to him actually us-
ing or carrying a weapon during a-crime of violerice.

As trial concluded, there was no direct evidence before the jury linking McPHERSON to
the use or carry of firearms, and no evidence that guns were discussed or present during
any planning stages of the overall conspiracy. Without the conspiracy count lending its
Pinkerton theory, to include instructions to the jury that rendered the 924(c) counts as
no more than overt acts of such conspiracy, McPHERSON only committed one affirmative act:
a Single conspiracy that doesn't justify two different Section 924(c) erhancements. Whe-
ther a criminal episode contains more than one unique and independant use, carry, or pos-
session depends at least in part on whether the defendarit made more than one choice to
use, Carry, or possess a firearm. Where the Goverrment's case alleged via conspiracy to
a single choice to rob "one or more" banks, a jury can disregard how many uses of that
weapon led to a bank being robbed. It only had to consider whether McPHERSON made the
initial choice to conspire. The 924(c) counts were therefore multiplicious, and McPHERSON
should not have been burdened with.a second or subsequerit 924(c) enhancement under such
circumstances. Because of that scenario this Court was challenged with what was proper
in sentencing McPHERSON for multiple § 924(c) courits. The *Pirst Step Act' allows this
Court to rectify that decision.

If McPHERSON's argument isn't pursuasive he still feels this Court should corivince
the Goverrmerit not to challenge a sentence reduction and grant such. At sentencing this
Court erroneously believed it was not authorized to consider the then-presented sentenc-
ing schemes of McPHERSON or his attorney in arriving at a prison term that was reasori-
able. In a recerit Supreme Court ruling (Dean -v- U.S., 2017 BL 107794, U.S., No. 15-9260,
4/3/17), the court pointed to the general sentencing statute, 18 U.S.C. § 3553(a), which

instructs courts to "impose a sentence sufficient, but not greater than necessary, to

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comply with" the four identified purposes of sentencing: just punishment, detererice, pro-
tection of the public, and rehabilitation.

McCPHERSON has row served by the time of this ruling a quarter-century on a seriterice
that would not have exceeded 152 months under the current judicial limits the "First
Step Act* entails , a time when ever supervised release would've long elapsed. Said 25
years encompasses many 'programs' McPHERSON has partaken, for which he will now not re-
ceive recognition for under the "First Step Act", which should still be considered by
this Court in the current action. See SRP ~ Progress Report (Educatiori Courses) [Atmt.D].

McCPHERSON's POST~CONVICTION CONDUCT

Since his incarceration, MOVANT for the most part has maintained a very good insti-
tutional record, even better than that found in Holloway. In 25 years McPHERSON has had |
only two violations, both resulting in termination from UNICOR for minor offenses. The
first was in 2014, a violation of Program Statement 318 (lying to a staff officer), for
claiming the need to leave work early to make a phonecall to his attorney, which he did
not do. The second was for allegedly sleeping on the job, for which MOVANT challenged on
the basis that he was terminated but never received an incident report. Region recently
denied MOVANT's BP-10 Remedy Request. After each incident McPHERSON werit to work for
the Inmate Medical Hospice via the Inmate Companion Program, where he is currently employ-—
ed. That's a total of 1 93 years for the FPI (UNICOR) and 34 years as a hospital ICP.

MCPHERSON has been diligent in his efforts to become educated in various fields of
academic programs offered by the Federal Bureau of Prisons {Atmt.D], which is corrobora-
tive of his foregoing assertior: that his conduct has been,. for the most part, impeccable
since the inception of his sentence. A copy of MOVANT's most recent program review is
attached hereto and filed herewith for this Court's review. However, MOVANT invites this
Court to coritact his current facility, indicated supra, and request a further report on

his conduct and programming throughout his incarceration, if it so deems necessary.

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McPHERSON's CURRENT MEDICAL STATUS

At age 57, MOVANT primarily copes with cronic care for several ailments such as
Lycin Symplex Cronica (a permanent skin allergy condition); esophageal (silent) reflux;
C.0.P.D. (lung disease); sleep apnea; asthma; early rheumatoid arthritis (hands, feet &.
hips); spinal arthritis (throat); and hypertension, all of which are accompanied by bad
lower leg circulation and random pain spasms due to testicular tube fluid. Still, none of
McPHERSON's ailments have resulted in any currert medical restrictions that Limit his
ability to aid and assist others in his current ICP position. [This Court is welcome to
contact FCIM Lexington's medical staff for F4 Morning Watch, specifically Mr. Ratlif,. for
more details as to his current work performarnce.] However, McPHERSON can assure this
Court of no further desire at this late stage in life to partake in illegal activity in
the future, for his health has been at issue and in decline since the start of his incar-
ceratiori. He now only desires to improve his health and prolong his life with the aid of
family and loved ones.

CONCLUSION

MOVANT was in his early 30s upon incarceration, neglecting family and many responsi-
bilities due to drug dependencies. Upon his release he still bears responsibilities, but
he has been sober and has very much matured over the last quarter-century. MOVANT knows
discretion completely rests within this Court:‘to either grant or deny his motion, or to
seek permission or consent from the Goverrment to reduce his sentence, if necessary.

That said, McPHERSON respectfully urges and prays this Court grants his motion and
allow him at this late date to more expeditiously resume his freedom ard become an aid
and asset to his family. Now, instead of his five children, it is his mother ard a couple
of grandchildren who need him as the primary caretaker of their household while rebuild-
ing what remains of his life. MOVANT implores this Court to consider and grant a sentence

reduction as leriierit as requested and now allowed under the authorities set forth herein,

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and to give MOVANT the opportunity to recommit to his family's well-being, as well as
have a charice to meet ard assist the newer members of his family which have arrived
during his incarceration.

THEREFORE, for the above-expressed reasons, MOVANT avers it is proper to GRANT his
MOTION FOR COMPASSIONATE RELEASE VIA REDUCTION OR MODIFICATION OF SENTENCE PURSUANT TO 18
U.S.C., § 3582(c)(1)(A)(i), FOR EXTRAORDINARY AND COMPELLING REASONS OR, ALTERNATIVELY,
THE "HOLLOWAY DOCTRINE', and he prays this Court, after proper consideration of the ex-
traordinary and compelling reasoris herein, responds accordingly with the language of the
"First Step Act' by ordering a sentence reduction resulting in immediate release of his

person, as well as any other reliefs this Court deems appropriate or necessary.

   

Lexington, KY 40512

DATED this (P™ aay ot Sthendin, 2019.

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DECLARATION

I, Eric Detrick McPherson, do declare under penalty of perjury that I have read and
subscribe to the above, and state that the information contained therein is true and

correct to the best of my knowledge.

, at FMC Lexington, in Lexington, Kerrtucky

 
 
  
 

tes fi
Mc
Reg.# 24919-086

  

CERTIFICATE OF SERVICE

 

I, Eric Detrick McPherson, do hereby certify under penalty of perjury that on this
git day of 5ehéat BE z__1 2019, 3 true and correct copies of a MOTION FOR COMPAS-
_ SIONATE RELEASE VIA REDUCTION OR MODIFICATION OF SENTENCE PURSUANT TO 18 U.S.C., § 3582
(c)(1)(A)(i) FOR EXTRAORDINARY AND COMPELLING REASONS OR, ALTERNATIVELY, THE ‘HOLLOWAY
DOCTRINE', have been provided to the below-listed parties via deposit into the mails
of the United States of America [see Houston -v- Lack, 101 L.Ed.2d 245 (1988)], at FMC-

Lexington, in Lexington, Kerttucky, postage pre-paid, as follows:

CLERK of the U.S. Dist. Court — U.S. ATTORNEY'S OFFICE

1717 Pacific Ave., Rm.# 3100 ' (ATTN: Joanne Y. Maida, AUSA)

Tacoma, Washingtori 98402 3600 Seafirst Fifth Ave. Plaza

(2 copies) Seattle, Washington: 98104-3190
(1 copy)

DATED this (7 aay of Set Fie , 2019.

 

FMC Lexington, PJO.B. 14500
Lexington, KY 405T2

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1 So with that I’1l hear from counsel as to what else you

2 care to -- you have argued to this matter to some extent, and
3 | I think I’m well aware of all the issues involved in this

M

tO 4 | case. oncern | was because ofthe) length of the, sentence

   
  
 
 
 
  

‘bring by the two gun counts, because with the
efive and the. second carrying a 25 years on top
er the guidelines would say as.to the predicate

- was my concern, and I wanted to make sure in my’

on

lat everything was clear before we proceed. *
10 What I have stated to you now, it’s my clarity of the

11 situation, and if you want to speak beyond that, I’1l hear --

 

 

12 Ms. Maida I‘ll hear from you first, if there’s anything to --

 

13 MS. MAIDA: Your Honor, I’11 submit it, and I’11

  

14 reserve an opportunity to reply to Mr. Balerud’s arguments.
15 THE COURT: All right.
16 Mr. Balerud.

17 MR. BALERUD: Your Honor, I’1ll thank the court

picts

18 for the opportunity to have addressed you in full at our last
19 sentencing hearing, and I certainly do not want to remake the
20 wheel. There’s just a very few issues I would like to discuss
21 with the court.

22 THE COURT: All right.

23 MR. BALERUD: My concern for Mr. McPherson on

24 the way this case procedurally went is he felt out of control

25 from its initiation. He was appointed -- who I understand is

 

 

 

 

 

 
 

Case |

 

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Lipg/aai19 Page i & Ba)
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, but also to Satisfy my. mind: whether » the.

 

Probation department: between here and Seattle were | Operating:

onthe samé: Page. And that is that they are’ doing something
over there. That’s not being done here. And whether what
they have done comports with the law as I understand it.

I further found out, in dealing | with this Castaneda _ case,

 

that that particular matter that involved that analysis and

    
 
 
   

ntence, it predated the case in which. Iofind:

 

 

 

 

All of this five on each count, all.

 
    

n (Prior to this case. And now thi

 

 

reuit, and I feel that” it’s. binding” on hits: court

 

     
 
 
  

ollow that law. Sox

 

 

s And ‘so on those two gun counts, the =
Sentence that I have to impose would be the 25 years.
Now, what that leaves, after making that decision, is this
conspiracy to commit armed bank robbery and two counts of
armed bank robbery. And nobody is really arguing about the
computations on that matter. That’s the level, and they’ re
both the same, so they carry the same Sentence. So I guess in

a sense they are concurrent.

 

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4 Buel WAS £0 tt 32 cornsshencY Basel case . °
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gave him a reasonable sentence. But she reduced his sentence,

ee

 

with all the circumstances pointing towards him.
—_—— ;
And I just feel that it’s totally unjustified for her to
assume that, because I was supposed to have done this with
him, that I was worse. And she even _stated during the trial
that I_was_as responsible as Joe Wilson. Not more. You know,
a Sabtediad atta
if I was‘as responsible, Deanna Bischoff should have been‘as
responsible. Deanna Bischoff was the one he was with. Deanna
Bischoff was the one in his life. She was just as much of a
conspirator as he was.

But the court was agreeable in being lenient with her
mainly, I’m assuming, because of her criminal history, which
she had none, and I realize that I do. I realize that I’m not
going to come in here and get 25 months or none of that kind
of stuff. I’m not asking for that. I’1l settle my situation

on appeal.

‘But as far as the sentencing goes today, Your Honor, F

mean, to make. --. to.make me feel that justice Was served

 

shouldiat least. qet..consideration.of. the. facts that these.twe
gun: charges were. onder. one case, And: Ene aways bhe- | awakS:

stating ity “if “you. do. it the second time, you should get more.

 

This is the first time. This is my first violent case, and it,

 

still isn't a case that I got. I mean, I got found convicted

 

 

of it but I didn’t commit this. *

But so if I was to get out in 15 years, and go. back on the’

 

 
 

 
  
  
  
  
  

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against him.

 

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eets; now 1/m-supposed to know better: Now, if I commit a
xime. again, then I’m looking at the extra 20 years or ”
vee athe Eee sreaney ems boweuonryousaddencavaaniactanat .

m not -- I’m kind of lost on that part, because I’m == I’m

so” caught, MP. into. the. absurdity. of the whole gituation’ I

mean, I just don’ t think -- I don’t understand how the FBI
started from the very beginning to go to the person with the
gun, the person that had all the evidence pointed towards him,
and tell him that it would be better for him to cooperate with
them against me.

The things they don’t tell you in the presentencing

investigations is two points. One of them,

I’ve been up
against the government before on two different occasions. One
of those occasions was a case that Joe Wilson went to prison
for in 1989. I didn’t go to prison because I wasn’t involved
in that situation, and Joe Wilson told them that I wasn’t, but
they felt that I was simply because of our association. Joe
Wilson came into this situation admitting to crimes that --
well, implicating me in crimes that I never was suspected of,

never charged with. But Joe Wilson didn’t speak of anything

that he and I was supposed to have done together, the only

things that he was supposed to have knowledge of me doing.

Joe Wilson's intent was to get revenge on me, because the
~S

FBI led him to believe that I was going to cooperate with them
epee OA
And I heard this from Joe Wilson’s mouth. Joe

 

 

 

 

LN.

 

 
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Case 3:94-cr-05708-RJB Pogypept 185 Filed 09/24/19 g

 

incarceration because of a lot of bad circumstances after his

It's things that he set in motion. It’s

 

things the government has set in motion. And it’s all going

—one

 

 

towards an unjust sentence.

 

It seems like the easiest sentence for this court would be
to go down the guideline trail and give him an incredibly long
| sentence. But it’s not just in looking at what happened to
Mr. Wilson. It’s not just looking at his circumstances. And
I believe in my original briefing I’ve given the court
opportunities, or at least I believe the law has given the
court opportunities, to impose a just sentence by running the
sentence concurrent with the state offense, which would be
appropriate, in that there was a federal court hold on him
that ran concurrent with that sentence, to run the bank
robberies concurrent. Andss fy would: ask the- court especially to

find that -two: onsecutive! five year 924(c) counts is’ the *

 

appropriate. sentence for Eric: McPherson.

Thank you.

 

THE COURT: Ms. Maida, anything you need to

 

respond to?

 

21/ MS. MAIDA: Your Honor, we only urge Fae court /
22 to follow the law.

23 Thank you.

24 THE COURT: Mr. McPherson, you, of course, have

 

25 the right, and I think I gave you that right the last time, to

 

 

 

 

 
 

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Summary Reentry Plan - Progress Report SEQUENCE: 00130167
Dept. of Justice / Federal Buresu of Prisons Report Date: 09-10-2019
Plan is for inmate: MCPHERSON, ERIC DETRICK 24919-0086
Facility: LEX LEXINGTON FMC Custody Level: IN
Name: MCPHEASON, ERIC Security Level: LOW
RegisterNo.: 24919-086 Proj. Rel Date: 01-11-2024
Quarters: Y0O3-218L Release Method: GCT REL

Age: 57 DNA Status: BML04208 / 02-08-2010
Date.of Birth: TEE 962

 

 

Contact Information
Release contact & address
Naomi Johnson, MOTHER

HEE S\. Louis, MO 63136 US

Phonie:(mobila) : 314-741-7007
Offenses and Sentences Imposed

 

 

|Charge Terms In Effect
18 USC 2113(A)(2) - ARMED BANK ROBBERY (COUNTS II & IV) 18 USC 371 - CONSPIRACY 92 MONTHS
(COUNT 1)

18 USC 924(C) - USE OF A FIREARM DURING A CRIME OF VIOLENCE (COUNT II!) 60 MONTHS

18 USC 924(C) - USE OF A FIREARM OURING A CRIME OF VIOLENCE (COUNT V) 240 MONTHS

 

Date Sentence Computation Began: 10-13-1995
Sentencing District: WASHINGTON, WESTERN DISTRICT

 

Days FSGT / WSGT / DGCT Days GCT or EGT/SGT Time Served + Jail Credit - inOp Time
07 o/ oO 4,296 Years: 24 Months: 1 Days: +77 JC -Q InOp

Detainers

[Detaining Agency Remarks

 

NO DETAINER
Program Plans:

 

During this term of incarceration, inmate McPherson was tasked with maintaining clear conduct and tinding educational, vocational, mental health
programming that fit his individual needs. He was given guidance on how to set and reach these goals from his unit team and was referred to any
programs that were relevant to his interests.

 

 

 

Current Work Assignments.

 

[Facl Assignment Description Start

 

LEX | ICP F42 INMATE COMP, SHIFT 2 (#348) ORI 9. a1-4 Hil, D

Work Assignment Summary

 

Duringithis term of incarceration, he. has worked in the UNICOR, Accounts Receivable and food service area. He has worked in the Inmate Companion
Program. In this area, he has assisted sick or elderly inmates with transporting them to various appointments including medical and psychological. In
addition, he transports them to programming, educational, and recreational activities. Lastly, he is available to assist them in the maintenance ai their
living:areas. He has maintained satisfactory work reports.

 

 

Current Education Information

 

 

 

 

 

|Facl » Assignment Description Start

LEX §  ESLHAS ENGLISH PROFICIENT 02-21-1996

LEX = GEDHAS COMPLETED GED OR HS DIPLOMA 02-05-1996

Edueation:Courses

[SubFacl Action Description Start Stop

LEX M Cc OFFICE MGA APPRENT. 11-24-2010 02-01-2013
LEX M Cc ELECT LAW LIB ORIENTATION 09-01-2010 09-01-2010
BML» Cc PRERELEASE RELEASE 10-09-2008 10-08-2008
BMM Cc CONSUMER ECONOMICS 08-17-2006 09-48-2006
BMM Cc JOB INTERVIEWING 08-17-2006 09-18-2006

 

Sentry Data as of 09-10-2019 Summary Reentry Plan - Progress Report Page i of 4
Case ee Abe ~ ent 185 Filed “) Page 18 of 22
Aint D-Cr# +f

 

 

 

 

Summary Reentry Plan - Progress Report SEQUENCE: 00130167
Dept. of Justice / Fadaral Buroau of Prisons Report Date: 09-10-2019
“ Plan is for inmate; MCPHERSON, ERIC DETRICK 24919~086
[SubFact Action Description Start Stop
8MM c RESUME WRITING CLASS. 07-13-2008 08-17-2006
Wik * c RPP #1 HIV/AIDS AWARENESS _ 10-19-2005 10-19-2005
BMM c ACE LEGAL RESEARCH 04-21-2003 06-18-2003
FLP Cc LEGAL WORKSHOP 10-09-1986 12-29-1998
FLP Cc OE BUS AM 8:00 AM - 40:30 AM 03-18-1996 06-05-1985

Edugation Information Summary

 

program in UNICOR, OFFICE MGR APPRENT. Ha has completed prograrns related to educational, vocational training, or counseling programs during

He has compieted several programs dusing this term of Incarceration and mada good use of his time. He completed an intensive apprenticeship
this tarm of incarceration.

 

 

Disdipline:Reports
Hearing Date

Prohibited Acts

 

 

 

 

 

 

 

 

 

 

|

04-21-2014 313 : LYING OR FALSIFYING STATEMENT

Disgipline Summary

[He has been able to maintain clear conduct since 2014. |

ARSiAssignments

Fac! Assignment Reason Start Stop |

LEX M A-DES OTHER AUTH ABSENCE RETURN 06-21-2019 CURRENT

LEX M A-DES OTHER AUTH ABSENCE RETURN 03-28-2019 06-21-2019

LEXM A-DES OTHER AUTH ASSENCE RETURN 02-11-2019 09-28-2019

LEXM A-DES OTHER AUTH ABSENCE RETURN 08-16-2018 02-11-2019

LEXM A-DES OTHER AUTH ABSENCE RETUAN 12-41-2017 08-16-2018

LEXM A-DES OTHER AUTH ABSENCE RETURN 10-20-2017 12-11-2017

LEXM A-DES OTHER AUTH ABSENCE RETURN 08-05-2016 10-30-2017

LEXM A-DES OTHER AUTH ABSENCE RETURN 12-03-2015 08-05-2016

LEX M A-DES OTHER AUTH ABSENCE RETURN 08-10-2018 42-01-2015

LEX M A-DES OTHER AUTH ASSENCE RETURN 12-12-2013 08-07-2015
_ LEXM A-DES OTHER AUTH ASSENCE RETURN 10-11-2043 12-12-2013

LEXM A-DES OTHER AUTH ABSENCE RETURN 09-08-2013 10-11-2013

LEXM A-DES OTHER AUTH ABSENCE RETURN 05-10-2013 09-08-2019

LEXM A-DES OTHEA AUTH ABSENCE RETURN 05-09-2013 05-10-2019

LEXM A-DES OTHER AUTH ABSENCE RETURN 05-06-2013 05-08-2013

LEXM A-DES TRANSFER RECEIVED 02-18-2010 08-06-2013

BML A-DES TRANSFER RECEIVED 09-26-2008 02-11-2010

BMM A-DES OTHER AUTH ABSENCE RETURN 02-27-2008 09-26-2008

BMM A-DES OTHER AUTH ABSENCE RETURN 11-14-2006 02-27-2008

8MM A-DES TRANSFER RECEIVED 11-18-2005 11-14-2008

WIL A-DES TRANSFER RECEIVED 19-01-2005 11-15-2005

BMM A-DES OTHER AUTH ABSENCE RETURN 08-03-2004 10-01-2008

BMM A-DES OTHER AUTH ABSENCE RETURN 03-12-2002 08-03-2004

BMMi A-DES TRANSFER RECEIVED 04-08-1999 03-12-2002

FLF A-DES TRANSFER RECEIVED 01-22-1998 03-19-1999

FLP A-DES US DISTRICT COURT COMMITMENT 12-08-1995 01-22-1998

Curfant Care Assignments

(Assignment Description Start

CARE1-MH CARE1-MENTAL HEALTH 07-16-2010

CARE2 STABLE, CHRONIC CARE 03-01-2010

Curignt Medical Duty Status, Assignments

Assijnment Description Start

LOWER BUNK LOWER BUNK REQUIRED 07-29-2019

REG.DUTY NO MEDICAL RESTR--REGULAR DUTY , 08-03-2017

YES fs CLEARED FOR FOOD SERVICE 09-28-2010

Sentty Data as of 09-10-2019 Summary Reentry Plan - Progress Report Page 2 of 4

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| LM. D- CET

 

 

 

 

 

 

 

Summary Reentry Plan - Progress Report SEQUENCE: 00130167
Dept. of Justice / Federal Bureau of Prisons Report Date: 09-10-2019
. Plan ia for inmate: MCPHERSON, BAIC DETRICK 24919-0686
Cufrent PTP Assignments
[Assignment Description Start |
NO ASSIGNMENTS
Current Drug Assignments
[Assignment Description Start |
ED NONE DRUG EDUCATION NONE 05-18-2009

Phygical.and Mental Health Summary
| Information regarding his physical and mental health can be obtained in his Medical Exit Summary.

 

 

 

 

 

FRE|Detalls_ .

[Most Recent Payment Plan

FRP Assignment: COMPLT  FINANC RESP-COMPLETED Start: 05-10-2001

Inmate Decision: AGREED $25.00 Frequency: QUARTERLY

Payments past 6 months: $6.00 Obligation Balance: $0.00

Finefiblal Obtigations - .

INo. Type Amount Balance Payable Status

1 ASSMT $250.00 $9.00 IMMEDIATE COMPLETEDZ
** NO ADJUSTMENTS MADE iN LAST 6 MONTHS **

2 REST FV $2,756.33 $0.00 IMMEDIATE COMPLETEDZ

** NO ADJUSTMENTS MADE IN LAST & MONTHS “*

He, _~ y
Finafclal Responsibility Summary
He has completed his Financial Responsibility Program obligations.

 

 

Reléase Planning -

He is serving a 392 month sentence with a five yrs. tan of supervision to follow. He submitted a release plan in which he states he will reside with his
motiipr In St. Louis, MO, that is in his sentencing district.

 

 

 

Gerjéral Comments.

| * No notes enterad **

 

 

Sently Data as of 09-10-2019 Summary Reentry Plan - Progress Report Page 3 of 4

 
Case 3:94-cr-05708-RJB Mair > C4 185 ay Page 20 of 22

 

Summary Reentry Plan - Progress Report SEQUENCE: 00130167

Dept. of Justice / Federal Bureau of Prisons Report Date: 09-10-2019
Plan is for inmate: MCPHERSON, ERIC DETRICK 24919-086

 

Name: MCPHERSON, ERIC DETRICK
Register Num: 24919-086
Age: 57
Date of Birth: [i os2
DNA Status: BML04208 / 02-08-2010

 

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|
|

   

      

Inmate_ (MCPHERSONYERIC DETRICK, Register Num: 24919-086)

4-(0-19

Date

Syst hik —_ Synnntehiek
Case Manager

4-70-19 40-17

i. Date Date

 

Summary Reentry Plan - Progress Report Page 4 of 4
    

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980-BLE67C

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3TUN ALINNOX ‘OOSPL °°O
UOPOUTXET (OWA) TeqWWED TeOTpeW Tezep

a po
   

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FEDERAL MEDICAL CENTER
33G1 LEESTOWN ROAD
LEXINGTON, KY 40511-8799

 

 
  

 

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pate: (717 os

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if the writer encloses correspondence for forwarding

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to Gitwsiiet wwur~e-~- eee

to the above address.
